289 F.2d 925
    UNITED STATES of America ex rel. Thomas H. DAVIS, Appellantv.William J. BANMILLER, Warden, East ern State Penitentiary,Philadelphia, Pennsylvania, Commonwealth of Pennsylvania.
    No. 13472.
    United States Court of Appeals Third Circuit.
    Submitted April 17, 1961.Decided May 1, 1961.
    
      William W. Caldwell, 1st Asst. Dist. Atty. of Dauphin County, Harrisburg, Pa.
      Before GOODRICH, KALODNER and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from an adverse decision of the district court upon appellant's petition for a writ of habeas corpus.  He has been through the state courts and opinions in his case have been written in both the Courts of Common Pleas and the Pennsylvania Superior Court.  Com. ex rel. Davis v. Banmiller, 1960, 192 Pa.Super. 130, 159 A.2d 770 allocatur denied, June 2, 1960.  The case has had thorough consideration by the district court to whom the petition by the made.  We find no error in the district court's conclusion adverse to the petitioner.
    
    
      2
      The order of the district court will be affirmed.
    
    